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Defendant Rite Aid Corporation dismissed without prejudice. Motion to dismiss for lack of jurisdiction by Defendant Rite Aid
Corporation on May 25, 2018 (ECF No. 498) is hereby rendered moot with respect to Case No. 17-op-45004 only.
                                     UNITED STATES DISTRICT COURT
IT IS SO ORDERED.
                                   FOR THE NORTHERN DISTRICT OF OHIO
s/ David A. Ruiz
                                            EASTERN DIVISION
U.S. Magistrate Judge
7/16/2018
         IN RE NATIONAL PRESCRIPTION                MDL No. 2804
         OPIATE LITIGATION
                                                    Case No. 17-md-2804
         This document relates to:
                                                    Judge Dan Aaron Polster
         Case No. 17-OP-45004 (N.D. Ohio)

         THE COUNTY OF CUYAHOGA, OHIO, and
         STATE OF OHIO EX REL., PROSECUTING
                                                                       STIPULATION OF DISMISSAL
         ATTORNEY OF CUYAHOGA COUNTY,
                                                                       WITHOUT PREJUDICE AS TO
         MICHAEL C. O’MALLEY,
                                                                       RITE AID CORPORATION
                                           Plaintiffs,

                  vs.

         PURDUE PHARMA L.P., PURDUE PHARMA
         INC., THE PURDUE FREDERICK COMPANY,
         INC., ENDO HEALTH SOLUTIONS INC.,
         ENDO PHARMACEUTICALS, INC., JANSSEN
         PHARMACEUTICALS, INC., JANSSEN
         PHARMACEUTICA, INC. n/k/a JANSSEN
         PHARMACEUTICALS, INC., NORAMCO,
         INC., ORTHO-MCNEIL-JANSSEN
         PHARMACEUTICALS, INC. n/k/a JANSSEN
         PHARMACEUTICALS, INC., JOHNSON &
         JOHNSON, TEVA PHARMACEUTICAL
         INDUSTRIES LTD., TEVA
         PHARMACEUTICALS USA, INC.,
         CEPHALON, INC., ALLERGAN PLC f/k/a
         ACTAVIS PLC, ALLERGAN FINANCE LLC,
         f/k/a ACTAVIS, INC., f/k/a WATSON
         PHARMACEUTICALS, INC., WATSON
         LABORATORIES, INC., ACTAVIS LLC,
         ACTAVIS PHARMA, INC. f/k/a WATSON
         PHARMA, INC., INSYS THERAPEUTICS,
         INC., MALLINCKRODT PLC,
         MALLINCKRODT LLC, CARDINAL
         HEALTH, INC., McKESSON CORPORATION,
         AMERISOURCEBERGEN CORPORATION,
         HEALTH MART SYSTEMS, INC., H. D.
         SMITH, LLC d/b/a HD SMITH, f/k/a H.D.
